Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 1 of 40 PageID #: 3909
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 2 of 40 PageID #: 3910
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 3 of 40 PageID #: 3911
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 4 of 40 PageID #: 3912
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 5 of 40 PageID #: 3913
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 6 of 40 PageID #: 3914
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 7 of 40 PageID #: 3915
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 8 of 40 PageID #: 3916
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 9 of 40 PageID #: 3917
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 10 of 40 PageID #: 3918
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 11 of 40 PageID #: 3919
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 12 of 40 PageID #: 3920
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 13 of 40 PageID #: 3921
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 14 of 40 PageID #: 3922
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 15 of 40 PageID #: 3923
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 16 of 40 PageID #: 3924
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 17 of 40 PageID #: 3925
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 18 of 40 PageID #: 3926
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 19 of 40 PageID #: 3927
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 20 of 40 PageID #: 3928
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 21 of 40 PageID #: 3929
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 22 of 40 PageID #: 3930
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 23 of 40 PageID #: 3931
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 24 of 40 PageID #: 3932
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 25 of 40 PageID #: 3933
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 26 of 40 PageID #: 3934
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 27 of 40 PageID #: 3935
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 28 of 40 PageID #: 3936
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 29 of 40 PageID #: 3937
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 30 of 40 PageID #: 3938
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 31 of 40 PageID #: 3939
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 32 of 40 PageID #: 3940
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 33 of 40 PageID #: 3941
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 34 of 40 PageID #: 3942
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 35 of 40 PageID #: 3943
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 36 of 40 PageID #: 3944
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 37 of 40 PageID #: 3945
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 38 of 40 PageID #: 3946
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 39 of 40 PageID #: 3947
Case: 4:20-cv-01227-JAR Doc. #: 111-6 Filed: 08/01/22 Page: 40 of 40 PageID #: 3948
